Case 7:99-cv-00072-WRF Document 114 Filed 05/09/07 Page 1of1
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
MIDLAND-ODESSA DIVISION
200 EAST WALL, ROOM 107
WILLIAM G. PUTNICKI MIDLAND, TEXAS 79701-5217
CLERK OF COURT
February 28, 2007
David T Duncan, Jr.

Assistant Attorney General
P O Box 12548, Capitol Station ©
Austin, TX 78711-2548

John Andrew Hutton

Clark, Thomas & Winters, P.C.

P O Box 1148 Re:Gonzales v. Cockrell
_ Austin, TX 78767 MO-99-CV-072

Dear Attorneys:

The above captioned case is closed. Pursuant to Local Rule CV-79, “The party offering any
exhibit or deposition shall be responsible for its removal from the Clerk’s Office within sixty (60)
days after the final disposition of the case, including appeal thereof. A detailed receipt shall be given
by the party to the clerk. Any exhibit or deposition remaining more than sixty (60) days after final
disposition of the case, including appeal, may be destroyed or otherwise disposed of the by The
Clerk.” 4

PLEASE CONTACT THE U.S. CLERK’S OFFICE AT (432) 686-4001 TO MAKE
ARRANGEMENTS TO PICK UP THE EXHIBITS. ©

 

 

If the exhibits are not claimed by April 30, they will be disposed of by the Clerk..
Sincerely Yours,

WILLIAM G. PUTNICKI, Clerk

[s/

/ :
By: Celia G Nazaroff, Deputy Clerk

 
